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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                                                         :
MIA CASTRO, M.D., HEIDI BOULES, M.D,                     :        CIVIL ACTION NO.
ASHLEY ELTORAI, M.D., JODI-ANN                           :        3:20-cv-00330-JBA
OLIVER, M.D., LORI-ANN OLIVER, M.D.,                     :
AND ELIZABETH REINHART, M.D.                             :
                                                         :
                        PLAINTIFFS                       :
                                                         :
v.                                                       :
                                                         :
YALE UNIVERSITY, YALE NEW HAVEN                          :
HOSPITAL, INC., AND MANUEL LOPES                         :
FONTES, M.D.                                             :
                                                         :
                  DEFENDANTS                             :        OCTOBER 2, 2020
__________________________________________

      YALE UNIVERSITY’S MOTION FOR EXTENSION OF TIME TO RESPOND
         AND/OR OBJECT TO THE PLAINTIFFS’ DISCOVERY REQUESTS

        The defendant, Yale University, hereby moves, pursuant to Fed. R. Civ. P. 6(b) and

Local Rule 7(b), for a 30-day extension of time, up to and including November 3, 2020,

within which to serve responses and/or objections to the plaintiffs’ first set of interrogatories

and request for production dated September 4, 2020.               Counsel for the plaintiffs have

consented to the requested 30-day extension. The additional time is needed in order for

counsel to properly prepare responses and/or objections to the plaintiffs’ discovery requests.

This is Yale University’s first request for an extension of time with respect to this deadline.

        WHEREFORE, Yale University respectfully requests that the Court grant a 30-day

extension of time, up to and including November 3, 2020, to serve responses and/or objections to

the plaintiffs’ discovery requests.

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                                            JURIS NO. 415438
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                                                THE DEFENDANT,
                                                YALE UNIVERSITY


                                          By:                  /s/
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                                                KRISTIANNA L. SCIARRA – CT30223
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                                     CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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